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                                                                                               FILED
                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF M ISSOURI                                JAN 3 1 2024
                                     EASTERN DIVISION                                     U. S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF MO
                                                                                                ST. LOUIS
 UNITED STATES OF AMERICA,                              )
                                                        )
 Plaintiff,                                             )
                                                        )
 V.                                                     ) No.
                                                        )
 JONATHAN CROWDER ,                                     )
                                                        )       4:24CR043 SEP/SRW
 Defendant.                                             )

                  MOTION FOR PRETRIAL DETE TION AND HEARING

      The United States of Ameri ca, by and th ro ugh its Attorneys, Sayler Fleming, United States

Attorn ey for the Eastern District of Mi sso uri, and Ni cho le E. Franke nberg, Assistant United States

Attorney for the District, moves the Court to order Defendant deta ined pending trial and further

requests that a detention hearing be held three days fro m the date of Defendant's initial appearance

before the United States Mag istrate pu rsuant to T itle 18, Uni ted States Code, Secti on 314 1, et seq.

      As and for its grounds, the United States of Ameri ca states as fo llows:

        l.      Defendant is currently charged with one count of being a Felon in Possession of a

F irearm, in violati on of T itle 18, United States Code, Section 922(g)(l). At the time of hi s offense,

the offense carried a maximum of 10 years' impri sonment.

                            The Nature and Circumstances of the Offe nse

        2.      Pursuant to T itle 18, United States Code, Section 3142(g)( l ), the nature and

circum stances of the charged offenses warrant pre-tri al detention. On June 3, 2020, police were

called to a residence du e to reports that defendant was flo uri shing a firearm in a threatening manner

and threatening to kill an occupant of the residence.         N umerous child ren were present in the

residence at the time. A mi ni Draco firearm w ith one ro und in the chamber and a full y loaded 37

ro und magazine was located in the garage. A black scope had been taped to the top of the firearm.

A mini Draco fires 7.62 x 39 caliber rifle shell s. DNA analys is of the firearm confirmed defendant to
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be the source of the major contributor profi le on the trigger and hand gua rd of the firearm. After

being advised of hi s Miranda rights, Defendant told police at the scene that he gave the gun to his

son to hide. Later when speaking with officers at the station, the defendant denied hav ing possessed

a firearm.

                                     The Weight of the Evidence

        3.       Pursuant to Title 18, United States Code, Section 3 142(g)(2), the weight of the

evidence supports pre-trial detention. The Defendant is a felon and his DNA was located on a loaded

firearm after multiple witnesses told police that Defendant flourished the firearm.

                               Defendant' s History and Characteristics

        4.       Pursuant to T itle 18, United States Code, Section 3142(g)(3), Defendant's criminal

history weighs in favor of detention. Defendant's criminal hi story reflects the following fe lony

convictions:

             •   Saint Louis County, 2 103R-0 1470B-Ol , State of Missouri v. Jonathan Crowder
                     o Charge:                  (l) Burglary, Second degree, C Fe lony
                                                (2) Stealing, C Felony
                     o Sentence Date:           10/05/2007
                     o Sentence:                After revocation, 5 years DOC
             •   Saint Lou is County, l 4SL-CR09293-01 , State of Missouri v. Jonathan Crowder
                     o Charge:                  Resisting Arrest, D Felony
                     o Sentence Date:           7/23/20 15
                     o Sentence:                4 years DOC
             •   Saint Lou is County, J4SL-CR09298-01, State of Missouri v. Jonathan Crowder
                     o Charge:                  Resisting Arrest, D Felony
                     o Sentence Date:           7/23/20 J5
                     o   Sentence:              4 years DOC
             •   Saint Louis County, l 5SL-CR0 1180-01 , State of Missouri v. Jonathan Crowder
                     o Charge:                  (1) Burglary, First degree, B Felony
                                                (2) Stealing, C Felony
                                                (3) Burglary, Second degree, C Felony
                                                (4) Stealing, C Fe lony
                     o Sentence Date:           7/23/2015
                     o   Sentence:              5 years DOC on all co unts, to run concurrently
                                       Danger to the Commun ity

       5.        Pursuant to T itle 18, United States Code, Section 3 l 42(g)(4), Defendant should
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be detained pending trial du e to the danger he poses to the com munity. Given his prior convictions,

and the nature and circumstances of the present offenses, no alternative set of restrictions wi ll be

suffi cient to protect the public.

       6.        In addition to the above criminal convictions, the defendant had been confined in

the Saint Louis City Justice Center since Septem ber of 2021 in cause number 2122-CR0 1401 -0l.

Those charges against defendant began as Assault in the First Degree, having to do with the shooting

of Kent Hamm on September 10, 2021. Mr. Hamm was the grandfather of three of defendant's

children and was able to identify Defendant as having shot him before passing away. Upon Mr.

Hamm passing, charges against Defendant were amended to Murder in the First degree.          In add ition

to the Murder, the defendant was also charged w ith Armed Criminal Action and Unlawfu l Use of a

Weapon (shooting at a motor vehic le). On January 26, 2024, a no/le prosequi was filed in the above

referenced case by the State of Missouri and the defendant was released from custody on those

charges.

       7.        In additi on to the above refere nced murder, the defendant is a suspect in the

fo llowing serious violent felonies: the September 7, 2021 Un lawfu l Use of a Weapon invol ving Mr.

Hamm ' s daughter; the September 8, 202 1 shooti ng and murder of Tony Foster; and the September

14, 2021 shooti ng and murder of Brian McIntosh.

      WHEREFORE, the Un ited States requests this Court to order Defendant detained prior to trial ,

and further order a detention hearing three (3) days from the date of Defendant's initial appearance.




                                                         Respectfully submitted,

                                                         SAYLER FLEMING
                                                         United States Attorney

                                                         Isl N ichole E. Frankenberg
                                                         NICHOLE E. FRANKENBERG, #61126(MO)
                                                         Assistant United States Attorney
